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                                  STATEMENT OF FACTS
        Your affiant, Clarke Burns, is a Special Agent assigned to the Federal Bureau of
Investigation Washington Field Office Joint Terrorism Task Force. In my duties as a Special
Agent, I investigate criminal activity pertaining to international and domestic terrorism. Currently,
I am tasked with investigating criminal activity in and around the United States Capitol and its
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The Capitol is secured twenty-four hours a day by United States Capitol Police.
Restrictions around the Capitol include permanent and temporary security barriers and posts
manned by USCP. Only authorized people with appropriate identification were allowed access
inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
located at First Street, SE, in Washington, D.C. During the joint session, elected members of the
United States House of Representatives and the United States Senate were meeting in separate
chambers of the Capitol to certify the vote count of the Electoral College of the 2020 Presidential
Election, which had taken place on Tuesday, November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Michael R. Pence present and presiding over the Senate, a large crowd gathered outside the
Capitol. As noted above, temporary barricades and permanent barricades were in place around the
exterior of the Capitol. USCP officers were present and attempting to keep the crowd away from
the Capitol and the certification proceedings underway inside.

        While the certification proceedings were underway, the exterior doors and windows of the
Capitol were locked or otherwise secured. USCP officers attempted to maintain order and keep the
crowd from entering the Capitol. Around 2:00 p.m., however, individuals in the crowd forced entry
into the Capitol, including by breaking windows and by assaulting USCP officers. Others in the
crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of Congress was effectively suspended
until shortly after 8:00 p.m. Vice President Pence remained in the Capitol from the time he was
evacuated from the Senate Chamber to the time the session resumed.

During national news coverage of the aforementioned events, video footage which appeared to
be captured on mobile devices of persons present on the scene depicted evidence of violations of




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     Pursuant to a search warrant that was executed on the account of a known B SQUAD
member, the following image or flyer was sent to a B SQUAD distribution list on or about
December 24, 2020.




       An individual whose identity is known to the FBI and who is referenced to as “B Leader”
for purposes of this affidavit, coordinated the group’s travel from Florida to Washington, D.C.,
and their lodging in Washington, D.C. B Leader reserved a block of rooms at a hotel that is near
to the U.S. Capitol, and he, the five individuals named in this Statement of Facts, and
approximately forty other members of B SQUAD stayed on the same floor of that hotel on January
5, 2021.




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       Below are images of B Leader in the January 3 video displaying some of the “defensive
tools” he suggested others bring to Washington, D.C., including an expandable metal baton, a
walking cane, and a folding knife.




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                                   [1]

       On January 6, 2021, a 38-year-old white male named                         had a full beard
and a mustache.      was wearing the following items:

   1. a red flannel-type shirt and tan/brownish pants;
   2. sunglasses and a green knit hat under a green baseball cap bearing a patch with the words
      “pedophile hunter” and a rifle graphic in orange;
   3. tactical vest and a drab colored scarf with a distinct pattern; and
   4. a backpack with the word “THREE PERCENTER.”

            also possessed, what appears to be, a black expandable metal baton in his back pocket.

        The following are images of       obtained from open-source videos or images taken from
within the restricted Capitol Grounds on January 6, 2021:




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                                    [2]

       On January 6, 2021, a 50-year-old white male named                              was pictured
wearing the following items while on restricted Capitol grounds:

   1.   a black and gray jacket;
   2.   a grayish and white baseball cap with the letters “USA” in red on the front;
   3.   a black scarf or neck gaiter; and
   4.   a large drab scarf with a distinct design.

       The following are images of           obtained from U.S. Capitol surveillance and open-
source videos or images taken from within the restricted Capitol Grounds:




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                                   [3] Brian Michael Preller

       On January 6, 2021, a 32-year-old white male named Brian Michael Preller was pictured
wearing the following items while on restricted Capitol grounds:

   1. a blue shirt with the words “WATERBOARDING INSTRUCTOR,” blue jeans, black
      gloves, a black belt, and a black neck gaiter or turtleneck shirt (under his blue shirt);
   2. large goggles and a green helmet with the word “monster” on the back in white; and
   3. green tactical vest with a chemical irritant spray attached to the front.

       Preller also possessed a long black walking stick. Preller had the phrase “B SQUAD” on
the back of his tactical vest armor. The following are images of Preller obtained from open-source
videos and/or images taken from within the restricted Capitol Grounds:




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                                         [4]

       On January 6, 2021, a 37-year-old white male named Johnathan Alan                                         was
pictured wearing the following items while on restricted Capitol grounds:

    1. an olive-green quilted jacket, blue jeans, and black gloves;
    2. a tactical vest with a patch associated with the “Three Percenters” movement (i.e., “III”);
    3. a drab neck gaiter and sunglasses;
    4. a grayish baseball helmet with a red, white, and blue skull on the back, yellow Gadsden
       flag3 symbols on the sides, what appears to be, the logo for “GoF” (described below) and
       a U.S. flag on the front; and
    5. what appears to be a knife in his front right pocket.

        The following are images of            obtained from open-source videos and/or images
taken from within the restricted Capitol Grounds:




3
 The Gadsden flag is a historical American flag with a yellow background. Depicted on the flag is a coiled rattlesnake
and the words “Dont [or, Don’t] Tread on Me.”



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                                          Brian Preller

      Preller has been identified as engaging in the conduct attributed to him above based on,
among other things, the following:

   1. As part of this investigation, Witness 3, an individual whose identity is known to the FBI,
      who has known Preller for more than a decade, and who is familiar with Preller’s
      appearance, was shown one or more images of the individual identified above as Preller at
      the Capitol on January 6. Witness 3 identified the individual in the photos as Preller.

   2. According to records obtained from Enterprise Rent-a-Car, Preller rented a gray 2020
      Chrysler Pacifica in Leesburg, Florida, from January 5-8, 2021. The vehicle’s mileage
      when returned was approximately 1,728 more than when it was provided to Preller. Of
      note, the distance between Leesburg, Florida, and Washington, D.C., is approximately 845
      miles. Preller’s phone number associated with the reservation was (352) 551-XXXX
      (“Preller Phone 1”).

   3. According to Witness 3, Preller Phone 1 was a phone number previously used by Preller
      in early 2021. According to T-Mobile records, Preller Phone 1 was subscribed to Corporate
      Resources Investments from approximately May 2018 until September 2021. As described
      above, according to Florida Department of State, Division of Corporations’ online records,
      Corporate Resources Investments, Inc., is an inactive Florida corporation who registered
      agent and only officer/director is the individual named herein as B Leader.

   4. According to cell site location information, Preller Phone 1 was in the vicinity of the U.S.
      Capitol during the afternoon on January 6.

   5. According to Facebook records, an account with the vanity name and account identifier of
      “brian.preller.37” is registered to “Brian Preller” (“Preller Facebook”), and associated with
      a telephone number that was at that time subscribed to Preller’s ex-wife, according to T-
      Mobile records (“Preller Phone 2”). Public postings on this account appear to reflect
      Preller’s connection to events at the Capitol on January 6, 2021, including:

          a. A picture from April 9, 2021, showing Preller on a bed, underneath an American
             flag, and holding an object that appears to be the same type of walking stick Preller
             carried at the Capitol on January 6th. The image on the left below is from Preller
             Facebook. The image on the right below is from open-source video of Preller at the
             Capitol on January 6. During an interview of Witness 3, Witness 3 identified both
             individuals pictured as Preller.




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  b. In December 2021, Preller sent the image above of him laying underneath a U.S.
     flag to a female acquaintance. In the related messages, Preller wrote, “Washington
     DC January 6th […] I was one of the ones in the capital.”

  c. A posting from June 7, 2021, shows an image of Preller with what appears to be a
     black flag on a black flagpole. The black flag appears to be the same as the one B
     Leader and other members of B SQUAD carried on January 6. During an interview
     of Witness 3, Witness 3 identified Preller as the individual in this image.




  d. Accompanying the image of Preller with the black flag and flagpole was the
     following comment from Preller, which appears to contain a reference to Preller,
     the flag, and others being at the Capitol in coded language: “Still got the flag my
     dude. The one that we carried together, at that one place when we followed our
     oaths.”


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4. An open-source video posted on August 2, 2021, which appears to be of an anti-vaccine
   protest in Orlando, Florida, appears to depict            wearing shoes like the ones worn
   by the individual believed to be            at the Capitol on January 6. Specifically, in the
   video,           appears to be wearing black gym shoes with a white sole, black bottom,
   and a logo consistent with an “S.” On the left below is an image of           at the Orlando
   protest. The images to the right depict             shoes on January 6 at the Capitol.




5. Investigators reviewed an image from a Facebook page that appears to depict a group of
   individuals, including              exhibiting support for former President Trump on a
   bridge, on or before July 22, 2020. In such image,           appears to be wearing the same
   or similar sunglasses to those he wore at the Capitol on January 6. On the left below is an
   image of            on the bridge. The image on the right depicts              sunglasses on
   January 6 at the Capitol. The nose and the profile of          as seen in the Facebook page
   are also the same as the nose and profile of the individual seen at the Capitol on January 6,
   2021.




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4. On or about December 12, 2020, three days before the image above was posted to
   Facebook account, a pro-Trump rally was held in Washington, D.C., which resulted in
   violent clashes between Trump supporters and counter protestors. Open-source videos
   associated with the event contain images of           based on that individuals’ helmet,
   goggles, body armor, military fatigues, drab scarf, and right shoulder camera as the
   individual identified as       in the images above. The two bottom photos are        on
   January 6 2021




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5. In addition, at least one video from December 12, 2020, appears to depict this individual
   wearing a ring on his right forefinger. The ring matches the ring          is wearing in
   images from            Facebook. The image on the left below is from one such video. The
   two images on the right were taken from public postings on           Facebook. Although
   the video is from December 12, 2020, the helmet, goggles, and scarf match the items that
           wore at the Capitol on January 6, 2021.




6. According to a search of the website www.backstage.com, which is used to, among other
   things, find professional acting roles,        has a public profile on which it appears that
   he has posted images of himself wearing, what appear to be the same or very similar
   military fatigues and drab scarf as those he wore on January 6, 2021.




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